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                         UNITED STATES DISTRICT COURT
                                   FOR THE                                2tl1 AUG 21 PM 3: 19
                             DISTRICT OF VERMONT                                    EUJ~t\

JACOB CARNELL!,                                  )                         BY-~,~,,!  ~ ~. ~:;:r,r
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                                                                                                     '
                                                 )
       Plaintiff                                 )
                                                 )
       V.                                        )      Case No. 2:15-cv-142
                                                 )
ADARBAAD KARAN!,                                 )
                                                 )
       Defendant.                                )

                      OPINION AND ORDER
       DENYING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
                            (Doc. 41)
       Plaintiff Jacob Carnelli asserts claims against Defendant Adarbaad Karani alleging
tortious interference with contract, defamation, and intentional infliction of emotional
distress, arising from Defendant's written communication with Plaintiffs employer.
Pending before the court is Defendant's motion for summary judgment (Doc. 41), which
Plaintiff opposes. The court heard oral argument on February 23, 2017. On March 22,
2017, the court ordered supplemental briefing with regard to Defendant's defense that a
release entitles him to summary judgment. Defendant filed his supplemental brief on
April 14, 2017 (Doc. 58) and Plaintiff filed his on April25, 2017 (Doc. 59) whereupon
the court took the matter under advisement.
       Attorneys John Markham, II, Esq. and Bridget A. Zerner, Esq., represent Plaintiff.
Attorneys Evan C. Ouellet, Esq. and Samuel Perkins, Esq. represent Defendant.
I.     The Undisputed Facts.
       A.      The June 2009 Incident.
       In June 2009, Plaintiff was a twenty-one year old college student living in Boston,
Massachusetts. On or around June 6, 2009, Plaintiff was involved in an altercation at the
Revolution Rock Bar in Boston in which he alleges that he was physically removed from
the bar and beaten by Defendant and three other bar employees (the "June 2009
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incident"). At the time, Defendant was employed as a police officer with the Boston
Police Department and was working at Revolution Rock Bar as part of a security detail.
The June 2009 incident resulted in Plaintiff being charged with assault and battery with
Defendant identified as the alleged victim. The charge was subsequently dismissed.
       In the summer of 2010, Plaintiff moved to Vermont and applied for employment
with the Vermont Department of Corrections ("VT DOC"). In September of 2010, VT
DOC hired Plaintiff as a temporary correctional officer while the criminal case against
him was still pending. In April of 2011, Plaintiff completed his probationary period,
became a full-time correctional officer, and was assigned to the Chittenden Regional
Correctional Facility in South Burlington.
       On June 23, 2011, Plaintiff filed a civil lawsuit in Massachusetts state court
against Defendant and others alleged to have been involved in the June 2009 incident (the
"Massachusetts action"). At approximately the same time, Plaintiff filed a complaint
against Defendant with the Boston Police Department's Internal Affairs division,
asserting that Defendant had made false statements in connection with the June 2009
incident. This complaint had the potential of resulting in discipline for Defendant such as
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a sanction, a suspension, or termination depending upon Internal Affairs' findings.
       In conjunction with the Massachusetts action, multiple witnesses were deposed,
including Raymond Carnelli (Plaintifrs father) and Jeremiah Carnelli (Plaintifrs
brother).
       B.      Depositions from the Massachusetts Action.
               1.      Excerpts from Raymond Carnelli's Deposition.
       Q.      Prior to the [June 2009 incident], had your son had any episodes of
               suicide?
       A.      No.
       Q.      Any suicidal thoughts?

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  Defendant initially testified that Plaintiffs Internal Affairs complaint was the only one that had
been filed against him. After a break in his deposition, during which he consulted with his
attorney, Defendant acknowledged that he was currently on administrative leave because of an
unrelated Internal Affairs' investigation.
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            A.       Not that I'm aware of.
            Q.       But you are aware that since the June 2009 incident, he's had
                     episodes of suicidal thoughts?
            A.       I've kept him within arm's reach, yes.
            Q.       Did he actually attempt suicide at some point?
            A.       I don't know.
            Q.       After the incident-- after the June 2009 incident, you were
                     describing that your son has had homicidal thoughts, correct?
            A.       Yes.
            Q.       Tell me about those.
            A.       Wants to kill police officers and the bouncers at Revolution, all the
                     ones that tried to kill him.
            Q.       Has your son acted on these thoughts in any way?
            A.       No.
      (Doc. 43-4 at 2, 75:18-76:16.)
            Q.       Are you aware that [Plaintiff] was diagnosed with [post-traumatic
             stress disorder]?
             A.      Yes.
             Q.      Did you observe him suffering from PTSD?
             A.      I'm not a doctor, but some of the symptoms I've seen from him,
                     people describe that's what [PTSD] is.
             Q.      What symptoms did you see?
             A.      Sensitivity to light. Sensitivity to noise. Sensitivity to
                     communications. Sensitivity to people in a room. Sensitivity to
                     access to a room. Sensitivity to the size of the room. Sensitivity to
                     how high or how low the ceiling is. Sensitivity to a woman walking
                     down the hallway in her high heels. Sensitivity to animals barking.
                     Sensitivity to people talking to you. Paranoia. Confusion. Anger.
                     Touching. Feeling. Basically just living. So that's why-- never
                     mind.
             Q.      Did you see him experience any night terrors?
             A.      Constantly.
             Q.       So every night?
             A.      Every night and every day when the medications ran off.

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       Q.      How did you know he was suffering from a night terror?
       A.      He would be screaming and thrashing about.
       Q.      Were you able to wake him?
       A.      Sometimes yes, sometimes no.
       Q.      How were you able to assist him when he had a night terror?
       A.      I'd hold him.
       Q.      And then the terror would subside?
       A.      Yeah. Tell him he's not dead.
       Q.      Do you--
       A.      Then he'd tell me he wants to be dead.
(Doc. 46-5 at 6-7, 47:8-48:21.)
       Q.      Have you observed [Plaintiff] suffering from depression?
       A.      Yes.
       Q.      What symptoms have you observed?
       A.      He wants to kill himself.
       Q.      What other symptoms?
       A.      Wants to kill somebody else.
       Q.      Is he in treatment for these symptoms?
       A.      Yes.
!d. at 8, 50:4-12.
       Q.      Have you observed [Plaintiff] continue to suffer from these
               conditions as we sit here today?
       A.      Yes.
       Q.      Are any of the ailments that he's suffered no longer present today?
       A.      No.
       Q.      So everything is still ongoing?
       A.      Yeah.
!d. at 8-9, 50:18-24-51:1.
       Q.      Now, you've described a fair number of symptoms that your son
               continues to experience through today as a result of [the June 2009
               incident], correct?
       A.      Correct.
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      Q.       Are those interfering in any way with his ability to do his job?
      A.       I believe so.
      Q.       How?
      A.       It's caused considerable stress on him. As far as work performance,
               no. I think he's admirable, and he's saved a couple ofwomen['s]
               lives, suicide attempts at the prison.
      Q.       So as far as his work performance goes, you're not aware that
               anything in connection with this incident is affecting his work
               performance as we sit here today?
      A.       Correct.
!d. at 10-11,82:15-83:8.
               2.     Excerpts from Jeremiah Carnelli's Deposition.
       Q.      To your knowledge, did [Plaintiff] experience any suicide ideation prior to
               the [June 2009] incident?
      A.       Prior to the [June 2009] incident? No. I don't remember him saying
               anything like that.
       Q.      What about homicidal ideation prior to the [June 2009] incident?
       A.      Prior to the [June 2009] incident? No.
       Q.      What about since the [June 2009] incident?
       A.      Since the [June 2009] incident, homicidal?
       Q.      Yes.
       A.      He wants to kill people?
       Q.      Yes.
       A.      Well, I think if anything, if anyone was savagely beaten like that, they'd
               want to, you know, kill their assailants.
       Q.      Is the answer to that yes?
       A.      Yes. If you were savagely beaten, wouldn't you want to see justice like
               that?
       Q.      Are you aware if he's taken any steps to act on that ideation?
       A.      No. He's not taken steps to act on that. That's why we're here.
(Doc. 43-5 at 3, 70:10-71:8.)




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        3.      Excerpts from Plaintiff's December 6, 2012 Deposition.
Q.      Tell me a little bit about suicidal thoughts. How often do you have
        suicidal thoughts?
A.      Approximately once a month.
Q.      Have you sought treatment for this?
A.      I see Cheryl Jacques as counselor, and I also use my brother, who's
        in the mental health profession. He helps me out too.
Q.      This is Jeremiah?
A.      Yes.
Q.      Have you ever tried to act on any of these thoughts?
A.      No. Good men dream to do bad. They don't act on impulses.
Q.       So the impulses go away?
A.      I don't act on impulse.
Q.       What about homicidal thoughts? Tell me about that.
A.       Same thing.
Q.       Who do you feel these thoughts towards?
A.      All my assailants are walking free. The three years of pain and
        misery, anxiety, depression that I had been suffering and they're all
        walking free in the street, and then the system tried to criminally
        charge me for something I didn't do.
Q.       When you're referring to assailants, you're referring to who?
A.       [Defendant] and the several bouncers that were involved that night.
Q.       Have you ever tried to act on any of those homicidal thoughts?
A.       No.
Q.       Do you still have those kinds of thoughts today?
A.       Look where I am.
Q.       So do you have those types of thoughts today?
A.       Yes.
Q.       Do you have them every day?
A.       Depending.
Q.       What does it depend on?



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      A.       Depends on my mood, depends on what's going on in life and it
               depends on how much sleep I got.
      Q.       So if you're stressed out, you might be more inclined to have
               homicidal thoughts?
      A.       Yes, only on those individuals because they tried to kill me and
               somehow they're still getting away with it.
      Q.       So the thoughts are specific to your assailants, as you call them?
      A.       Yes.
      Q.       Ever have these types of homicidal thoughts towards anyone else?
      A.      No.
(Doc. 43-6 at6-7, 211:1-213:7.)
      Q.       So taking a look at Exhibit 3, what do we have here?
      A.      A picture of [Defendant] in his Facebook account.
      Q.      Did you print this out?
      A.       Yes.
      Q.       When did you print it out?
      A.       [April 7], 2010.
      Q.      Are you friends with [Defendant] on Facebook?
      A.      No.
      Q.       What's this second page we have here of Exhibit 3?
      A.      It shows him at the two-year anniversary in regular clothes, it shows
              that him and Revolution were tight.


      Q.      And did you print this from Revolution's website?
      A.      My brother did.
      Q.      Do you recall when he printed that?
      A.      I don't remember.
      Q.      And the third page of Exhibit 3, what do we have here?
      A.      It's [Defendant's] Facebook picture as of the last time I checked,
              [October 14, 2012], and he's standing inside the Revolution Rock
              Bar.
      Q.      Do you pull up [Defendant's] Facebook page regularly?


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       A.       Yes, to show his connection with Revolution.
       Q.       It's your position that his connection with Revolution is shown
                because he's standing inside of Revolution, is that correct?
       A.      Yes, in civilian clothes, so it shows he's not only there for on-duty
               purposes.
!d. at 8, 223:7-224:20.
                4.     Excerpts from Plaintiff's January 8, 2013 Deposition.
       Q.       You have had homicidal and suicidal thoughts, correct, since [the
                June 2009 incident]?
       A.      I mean, how would you think about it if a bunch of cops that were
               there to protect and serve you, laughed in your face, threw you on
               the ground, beat the crap out of you, and then tried covering it up?
       Q.      I don't know. I really don't. But the thoughts that you have, are
               they during dreams? Are they at night when you are sleeping?
       A.      At points, with the night terrors and the anxiety.
       Q.      What about when you are awake during the day? Do you think
               thoughts or images of you killing one of the people that was
               involved in this assault?
       A.       Good men dream to do bad. They never act on impulse, like the
                gentlemen that you are trying to protect and the gentlemen that work
                for the State. They acted on impulse, which is a criminal mindset.
       Q.      Okay. I understand. I am just asking you about your thoughts. I
               understand. But while you are awake, do you have thoughts about
               killing the people that were involved in the [June 2009] incident?
       A.       Self defense. I will never let those individuals ever touch me again.
       Q.      The thoughts you have, are they like a visual image you have of you
               killing them?
       A.      No. Just they will never lay a finger on me again.
       Q.       So you don't have a visual image of you killing any of the people
                involved in [the June 2009] incident?
       A.      Good men dream to do bad. But they don't act on impulses.
       Q.      Is that a yes or a no, or you don't know?
       A.      I don't know. I really don't know.
       Q.      Have you ever had a visual image of you killing one of the people
               involved in [the June 2009 incident]?

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      A.       Good men dream to do bad. They do not act on impulses. That is
               the way I am going to answer the question.
      Q.       It is nonresponsive.
      A.       When you get your face kicked in with several individuals, then we
               can sit down and talk about it.
      Q.       When you have these thoughts, these homicidal thoughts against the
               people that harmed you that night, is there a certain weapon in mind
               that you are using during your homicidal thought?
      A.       They are angry thoughts.
      Q.       So you haven't had an image of you actually killing one of these
               people that was involved in the assault?
      A.       No.
(Doc. 43-7 at 4-5, 429:19-432:9.)
      Q.       Hi, Mr. Camelli. Can you tell me, do you currently own any
               firearms?
      A.       Yes.
      Q.       Howmany?
      A.       I have the Ml Garand .30-06 rifle, World War II, because I love to
               collect nice firearms.
      Q.       Any others?
      A.      I have a Colt 1911. My grandfather worked in a Colt factory during
              the war. And we live in-- I grew up in Hartford, Connecticut, so I
              figured I had to have a 1911 from Hartford as another relic.
      Q.       Is that a handgun?
      A.       Yes.
      Q.      And any other guns?
      A.      I have a Springfield XDS.


      Q.      What type of firearm is that?
      A.      It is a small carry 45-caliber.
      Q.      When you say "small carry," is that the same thing as a hand gun?
      A.      Yes. It is just a smaller gun.
      Q.      Any others?

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       A.     AK-47.
       Q.     What do I use that for?
       A.     I love to shoot and practice shooting. It is a stress reliever.
       Q.     Do you do that at a range?
       A.     Yes.
       Q.     Do you have any other firearms?
       A.     No.
       Q.     How long have you had that AK-4 7?
       A.     Approximately a year.
       Q.     How about the Springfield XDS?
       A.     Approximately nine months.
       Q.     The Colt[19] 11?
       A.     Three months.
       Q.     And the Ml Garand rifle, World War II?
       A.     Two years.
       Q.     Did you bring any of those weapons into Massachusetts with you to
              come to this deposition?
       A.     No.
       Q.     Do you have any weapons with you, whatsoever, at the deposition
              today?
       A.     No.
Id. at 2-3, 258:11-260:10.
       C.     Defendant's January 9, 2013 Memorandum.
       Defendant's deposition took place on January 9, 2013, the day after Plaintiff's
second deposition and was held at the City of Boston's Law Department in Boston City
Hall. Prior to the deposition, Defendant's attorney informed him that she had an
obligation to advise him that Plaintiff had "testified [in deposition] that he had suicidal
thoughts as well as homicidal thoughts towards the people in the [Massachusetts Action],
including [Defendant]" and that Plaintiff"testified that he checked [Defendant's]
Facebook on a regular basis." (Doc. 43-8 at 6, 21:3-7 .) She stated that "based on
[Plaintiff's] behavior and what he testified to, that [she] had concerns about his mental

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status[,]" id. at 7, 24:19-21; that Plaintiff was employed by VT DOC and "had numerous
firearms, including an AK-47." !d. at 8, 25:13. She further advised that Plaintiff
intended to attend Defendant's deposition and that she and Plaintiffs attorney had agreed
that Defendant would attend his deposition in civilian clothes and without his service
weapon. Defendant was not provided with deposition transcripts in the Massachusetts
Action; his knowledge of Plaintiffs deposition testimony was derived solely from his
attorney's report.
       On January 9, 2013, Defendant was scheduled for a regular shift as a patrol
officer. His supervisor was Captain Francis Armstrong who was not at the station on that
date. Prior to attending his deposition, Defendant wrote the following memorandum to
Captain Armstrong:
       1/09/2013
       DISTRICT/UNIT: Area E- District 18
       To: Captain Francis Armstrong, District Commander
       From: Police Officer Adarbaad Karani, ID #98659
       SUBJECT:             Homicidal Threats Made Towards Myself
              I respectfully report that I was recently informed by my Assistant
       Corporation Counsel Nicole Loughlin for the City of Boston Law
       Department that during Jacob Carnelli' s deposition during an ongoing
       lawsuit, he made suicidal and homicidal threats towards me. She stated
       that she is also concerned about his mental status and his possible actions.
       He also stated that he checks my personal [F]acebook page on a daily basis.
       As of 01/07/2013 I have disabled my personal [F]acebook account. He
       possesses numerous firearms and is employed by the Department of
       Corrections for the State of Vermont. I would request that his employer is
       made aware of these threats for his own personal safety and for the safety
       of those he is sworn [to] protect.
               I am scheduled to go to City Hall today 01/09/2013 at 9:00am for
       my deposition. Nicole Loughlin left a voicemail yesterday 01/08/2013 at
       about 5:00 pm stating that there was some type of agreement that was made
       and they are requesting me to arrive in plain clothes and unarmed. I am on
       a regular tour of duty from 7:30am to 4:00pm. I am extremely
       uncomfortable and concerned about my safety. I must respectfully deny
       this request especially after the type and severity of the threats that have

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       been made. If for some reason I must arrive under their conditions, I will
       request an on-duty, full-uniformed, fully equipped Police Officer to be
       present. I will request I have verbally notified my supervisor Lieutenant
       Michael Locke of the situation. I have faxed a copy of this report to the
       Boston Police Legal Advisor after 9:00am. I have faxed a copy of this
       report to the Boston Police Patrolmen's Association and will also notify
       them via phone after 9:00am.
       Respectfully submitted,
      Police Officer Adarbaad Karani
       ID #98659
(The "Memo") (Doc. 43-11 at 2) (emphasis supplied).
      Defendant placed a copy of the Memo in the Captain's mailbox and faxed a copy
to him. Defendant also faxed copies to the Office of the Boston Police Legal Advisor
and to his union representative in the Boston Police Patrolman's Association.
       Defendant attended his deposition in plain clothes and without his service weapon.
Another officer sat in the lobby of the City of Boston Law Department while the
deposition was conducted. Plaintiff attended Defendant's deposition without incident.
       On January 10, 2013, Defendant reported for work and called and requested VT
DOC's fax number. He then faxed the Memo to VT DOC with a one-page coversheet.
This was Defendant's sole contact with VT DOC. When interviewed by Internal Affairs,
Defendant acknowledged the Memo's potential impact on Plaintiff's employment:
      Q.     Did you feel like you knew that could possibly jeopardize
             his ... employment?
      A.     Uh, yeah, I was aware of that. Yes.
(Doc. 46-10 at 13-14, 13:22-14-1.)
      D.     VT DOC's Receipt of the Memo and Plaintiff's Leave of Absence.
      On January 11, 2013, William Lawhorn, Director of Facility Operations for VT
DOC, received Defendant's fax coversheet and the Memo. Prior to this receipt, VT DOC
had no concerns regarding Plaintiff's fitness for duty. Mr. Lawhorn provided the Memo
to Robert Amell, the Superintendent at the Chittenden Regional Correctional Facility;
Roxanne Royce, a human resources manager for Vermont Department of Human


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Resources ("VT DHR"); Sarah Jewett, a VT DHR human resources administrator; Earl
Fechter, a Unit Supervisor for the VT DHR Investigations Unit; and James Rice, an
investigator for the VT DHR Investigations Unit.
       On or about January 13, 2013, Mr. Amell contacted Captain Armstrong and spoke
with him about the June 2009 incident. The following day, Mr. Amell performed a
Vermont Criminal Information Center ("VCIC") and a National Crime Information
Center ("NCIC") records check on Plaintiff which showed no charges. Mr. Amell
testified at deposition:
       [W]e have the whole Human Resources Department involved at that point
       to determine the risk factors of [Plaintiff]. We run the VCIC and the NCIC
       and we have no, we have no charges; we have nothing. So it becomes
       questionable about where the truth lies.
(Doc. 43-13 at 10, 88:9-15.)
       On January 14, 2013, Mr. Fechter assigned Mr. Rice to investigate the contents of
the Memo. The "entire scope" of Mr. Rice's assignment in investigating the Memo was
to contact attorney Loughlin to obtain copies of the Massachusetts action deposition
transcripts and to inquire regarding the deposition testimony. (Doc. 53 at 27, ~ 40.) On
January 25, 2013, attorney Loughlin e-mailed excerpts of Plaintiffs, Raymond
Carnelli's, and Jeremiah Carnelli's depositions to Mr. Rice. Attorney Loughlin did not
discuss the contents of the transcripts with Mr. Rice, nor did she speak with anyone at VT
DOC orVTDHR.
       Thereafter, Mr. Rice did not interview Plaintiff, Raymond Carnelli, or Jeremiah
Carnelli, and did not contact Defendant or anyone else at the Boston Police Department.
Mr. Rice did not request any other reports or documents from the Boston Police
Department related to the June 2009 incident and Mr. Rice "conducted absolutely no
investigation" into it. !d. at 28, ~ 43. Mr. Rice did not create a report as he typically
would do when conducting a misconduct investigation. Plaintiff was neither charged
with misconduct nor subjected to formal discipline by VT DOC or VT DHR as a result of
the Memo.


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        On January 28, 2013, Plaintiffs attorney faxed a letter to Mr. Amell which stated,
in relevant part:
       We are counsel for [Plaintiff] in a civil case pending in Suffolk Superior
       Court in Boston, Massachusetts and have been informed that recently your
       department received an anonymous phone call from someone in Boston
       who made negative allegations against [Plaintiff]. As a result, [Plaintiff] is
       requesting an administrative paid leave of absence.
!d. at 29,   ~   49. The letter further stated: "[Plaintiff] requests that his leave extend and
that he resume his duties as Correctional Officer I after a full investigation is completed
and submitted in writing which he believes will clear him of the allegations made against
him." !d. at 29, ~50.
        On February 5, 2013, Plaintiffs attorney faxed another letter to VT DHR, stating
that Plaintiff and his counsel were aware of "negative allegations made against
[Plaintiff]" and that "(attorney Loughlin] received a request from your facility for
information on this matter and she then forwarded excerpts of deposition testimony taken
from several witnesses in the [Massachusetts action]." !d. at 30, ~51. The letter stated
that Plaintiff believed that his "personal safety is compromised" and that:
       In this situation, he believes a temporary leave of absence is the best course
       for himself as well as in the interest of the Chittenden Facility. [Plaintiff]
       will resume his duties as Correctional Officer I on August 1, 20 13. He
       believes this is necessary to allow sufficient time for a full investigation in
       to this matter by our office as well as by the administration of the
       Chittenden Facility which he again requests.
!d. Pursuant to his request, Plaintiff was granted a leave of absence.
       On February 5, 2013, VT DHR supervisors and managers held a telephone
conference to discuss employment issues involving state employees including Plaintiff.
During this conference, it was decided that there would be no further investigation of the
contents of the Memo or the statements made by Plaintiff during his depositions.
Plaintiff would, however, be required to undergo a fitness for duty examination prior to
returning from his six-month leave of absence.
       On July 19, 2013, while Plaintiff was still on leave, VT DOC sent him the
following letter:

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        Before you began your unpaid leave in late January of this year,
        information came to my attention which gave me reason to be concerned
        about your health and wellbeing, and to question your ability to safely and
        capably perform your job. Because of these concerns, we need you to
        please submit to examination by a physician and/or clinical psychologist
        before returning to work. The State will designate and pay for the expert to
        determine your fitness for duty. We are concerned about your safety, the
        safety of your co-workers, and your current ability to do your job.
        In your email message of July 10, 2013, you inquired about an internal
        investigation at the Chittenden facility. In reviewing the information
        available, [VT] DOC determined that there was insufficient known
        evidence to warrant an investigation into your potential misconduct. [VT]
        DOC is also unaware of any reason to believe that anyone poses a danger to
        you at the facility-as your email suggests-please immediately detail all
        of your concerns, so [VT] DOC can evaluate them.
        This action is being taken pursuant to Article 35, Section 2, (b) (6) of the
        Agreements between the State of Vermont and the Vermont State
        Employees' Association. This is not a disciplinary action and should not be
        construed as such; however, your failure to follow the instructions in this
        letter could lead to disciplinary action, up to and including dismissal.
!d. at 38-39, ,-r 57.
        The agreements between the State of Vermont and the Vermont State Employees'
Association reached through collective bargaining govern Plaintiffs employment rights
and relations with his employer. Article 35, Section 2, (b)(6) provides:
        (6)     An appointing authority, or delegated representative, may require,
                when there is sufficient reason, the submission of a certificate from a
                physician or other evidence to:
                (i)     justify the approval of sick leave; and
                (ii)    furnish evidence of good health and ability to perform work
                        without risk to self, coworkers, or the public as a condition of
                        returning to work. Whenever a doctor's certificate is
                        required, as a condition for approval of sick leave usage, the
                        time period for such requirement shall not normally exceed
                        six (6) months (unless specifically imposed for a lesser period
                        of time), and may be extended for up to an additional six (6)
                        month period of time.




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                     The State may require an employee to be examined by a
                     physician designated by the employer, at State expense, for
                     the purpose of determining the employee's fitness for duty.
!d. at 39, ~58.
       On July 26, 2013, Plaintiff received a letter informing him that the fitness for duty
examination would last five hours and take place on August 2 and August 8, 2013 at the
office of psychologist Claire Gilligan. On July 31, 2013, Ms. Royce and Plaintiff
exchanged e-mails in which Plaintiff objected to undergoing the fitness for duty
examination. Ms. Royce informed Plaintiff that he was "not under investigation, now or
previously." !d. at 41,   ~   62.
       Plaintiff did not attend the scheduled examination in August because he was in
Connecticut caring for his ailing grandfather. Had Plaintiff attended the August
examination and been determined fit for duty, he would have been permitted to return to
work immediately. Plaintiff ultimately attended the fitness for duty examination with
Ms. Gilligan in January of2014.
       Ms. Jewett, who was responsible for setting up the examination with Ms. Gilligan,
informed Ms. Gilligan that Plaintiff had expressed suicidal and homicidal statements, but
declined to provide information about the statements. Although Ms. Jewett provided Ms.
Gilligan with a copy of Plaintiff's job description, she did not provide a copy of the
Memo or any of the deposition transcripts.
       During the evaluation in January of2014, Plaintiff told Ms. Gilligan that when he
was deposed in the Massachusetts action he testified that "he has never expressed any
thoughts, plans[,] or intent to harm others ... other than what he disclosed at his
deposition related to his nightmares." !d. at 45, ~ 70. He provided a copy of the Memo
to Ms. Gilligan.
       In February of 2014, Ms. Gilligan issued a report finding Plaintiff fit to return to
duty. Plaintiff returned to work shortly thereafter without restriction. During his leave of
absence, there was no justification for paying Plaintiff but VT DOC allowed him to use
accrued paid leave that he had saved.


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        E.       Settlement of the Massachusetts Action.
        On June 3, 2014, the Massachusetts action was settled, resulting in a voluntary
stipulation of dismissal in July of2014. As part of the settlement, the parties executed a
release (the "Release") which provides in relevant part:
        Releasor does hereby remise, release and forever discharge [Defendant and
        the other defendants to the Massachusetts action], and all of their
        subdivisions, officers, agents, principals, employees, servants, partners,
        associates, trustees, independent contractors, owners, affiliates,
        representatives, heirs, executors, administrators, beneficiaries, successors or
        assigns and attorneys, insurers, reinsurers, and insurance agents, past and
        present (hereinafter all collectively "Releasees"), from all debts, demands,
        actions, causes of action, suits, dues, sum and sums of money, accounts
        reckonings, bonds, covenants, contracts, controversies, agreements,
        promise, doings, omissions, variances, damages, extent, executions and
        liabilities and any and all claims of every kind, nature and description
        whatsoever, both in LAW and EQUITY, including any claims whatsoever
        pursuant to M.G.L. c. 93A and/or 176D, which against Releasees,
        [Plaintiff] now has, ever had, or will ever have on account of any losses,
        damages, injuries, emotional distress, expenses, costs, or fees allegedly
        sustained or incurred by [Plaintiff] or which have yet to be sustained or
        incurred by [Plaintiff] arising out of [the June 2009 incident] ... and which
        is the subject of [Plaintiffs] complaint against [Defendant and the other
        defendants in the Massachusetts action].
!d. at 46, ,-r 72.
II.     The Disputed Facts.
        The parties dispute whether the statements in the Memo were true. Defendant
asserts that he "considered [Plaintiffs] statements and actions as threatening and he was
concerned for his personal safety[,]" id. at 17, ,-r 23, and that he "was also concerned
about [Plaintiffs] fitness to work as a correctional office[r] and protect the individuals
under his care[,]" id. at 22, ,-r 24. In support, Defendant cites the Memo and portions of
his deposition transcript.
        While Defendant is generally the sole arbiter of what he thought and felt, Plaintiff
disputes that Defendant's Memo supports his assertions. The subject of the Memo is
"Homicidal Threats Made Towards Myself' and the Memo asserts Plaintiff"made
suicidal and homicidal threats towards [Defendant]." (Doc. 43-11 at 2.) Plaintiff points

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out that Defendant's attorney told Defendant that Plaintiff had expressed only suicidal
and homicidal thoughts. She did not advise him of any threats. Moreover, Defendant's
attorney did not inform him of Plaintiffs statements until after Plaintiffs January
deposition, which Plaintiff contends undermines any claim that Defendant's attorney
perceived an imminent risk to Defendant's physical safety. Plaintiff further points out
that Defendant was never advised, instructed, or approved to send his Memo to VT DOC,
and did not discuss it with his supervisor before sending it. Plaintiff argues that this
creates a reasonable inference that Defendant drafted the Memo so that it would appear as
if it was responsive to an inquiry or directive by his superior. He notes that Defendant
did not contact any law enforcement agencies, bring charges, or obtain a restraining order
against him, and advised the Boston Police Department Internal Affairs investigator that
his intention in sending the Memo was "just to make [VT DOC] aware of what, urn,
that-ofwhat [Plaintiff] did." (Doc. 46-10 at 14, 13:15-16.) In doing so, Defendant
acknowledged that he was aware the Memo might impact Plaintiffs employment.
       Defendant, in turn, responds that Plaintiff was not aware of the Memo until after
he requested and was granted a leave of absence. In his request for a leave of absence,
Plaintiff expressed his belief that VT DOC had "received an anonymous phone call from
someone in Boston who made negative allegations against [him]." (Doc. 53 at 29, ,-r 49.)
Plaintiff, however, contends that he requested a leave of absence because the Memo
triggered a VT DOC investigation, which exacerbated his PTSD. The parties dispute
whether there was a VT DOC "investigation," or whether there were simply VT DOC
concerns.
       The parties further dispute whether VT DOC's decision to require Plaintiff to
undergo a fitness for duty examination prior to his return from his leave of absence was
solely due to the Memo, or whether other information contributed to that decision as well.
Defendant points to deposition testimony of Ms. Royce, Ms. Jewett, and Mr. Arnell in
which they testified that the deposition testimony in the Massachusetts action caused
them concern and would be sufficient to require Plaintiff to undergo a fitness for duty
examination prior to returning to work. Plaintiff does not dispute this assertion, but

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points to Ms. Royce's acknowledgement that the contents of Defendant's Memo were
also of concern to VT DOC and VT DHR and considered in their decision-making.
       In addition to disputing the impetus for the fitness for duty examination, the
parties disagree whether requiring an employee to undergo a fitness for duty examination
is a "disciplinary" action. Defendant cites VT DOC's July 19, 2013 letter which states
that requirement of undergoing a fitness for duty examination "'is not a disciplinary
action and should not be construed as such[.]'" (Doc. 53 at 39, ,-r 57) (quoting Doc. 43-23
at 2). Defendant also points to the following deposition testimony of Ms. Royce:
       Q.     Requiring an individual to undergo a fitness for duty [examination],
              is that a disciplinary action?
       A.     No.
(Doc. 53-2 at 2, 88:17-19.) Plaintiff, however, cites the letter notifying him ofthe
requirement that failure to submit to the fitness for duty examination "could lead to
disciplinary action, up to and including dismissal." (Doc. 43-23 at 2.) In any event, he
contends that whether the requirement was "disciplinary" does not determine whether he
suffered harm, including lost wages while on leave. His counselor Ms. Jacques testified
that the examination made Plaintiff "very anxious" and resulted in "loss of sleep, vivid
dreams and flashbacks of traumatic assault." (Doc. 46-13 at 62, 196:10-15.)
III.   Conclusions of Law and Analysis.
       A.     Standard of Review.
       Summary judgment must be granted when the record shows there is no genuine
dispute as to any material fact and the moving party is entitled to judgment as a matter of
law. Fed. R. Civ. P. 56( a). "A genuine dispute exists when the evidence is such that, if
the party against whom summary judgment is sought is given the benefit of all
permissible inferences and all credibility assessments, a rational factfinder could resolve
all material factual issues in favor ofthat party." S.E.C. v. Frohling, 851 F.3d 132, 136
(2d Cir. 2016). "A fact is 'material' for these purposes if it 'might affect the outcome of
the suit under the governing law."' Rodriguez v. Vill. Green Realty, Inc., 788 F.3d 31, 39
(2d Cir. 2015) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

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       The moving party "always bears the initial responsibility of informing the district
court of the basis for its motion, and identifying those portions of the pleadings,
depositions, answers to interrogatories, and admissions on file, together with the
affidavits, if any, which it believes demonstrate the absence of a genuine issue of material
fact." Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (internal quotation marks
omitted). "When the moving party has carried its burden under Rule 56(c), its opponent
must do more than simply show that there is some metaphysical doubt as to the material
facts .... [Rather], the nonmoving party must come forward with specific facts showing
that there is a genuine issue for trial." Matsushita Elec. Indus. Co. Ltd. v. Zenith Radio
Corp., 475 U.S. 574, 586-87 (1986) (citations, emphasis, footnote, and internal quotation
marks omitted).
       "The function of the district court in considering the motion for summary
judgment is not to resolve disputed questions of fact but only to determine whether, as to
any material issue, a genuine factual dispute exists." Kaytor v. Elec. Boat Corp.,
609 F.3d 537, 545 (2d Cir. 2010). "Credibility determinations, the weighing of the
evidence, and the drawing of legitimate inferences from the facts are jury functions, not
those of a judge." Proctor v. LeClaire, 846 F.3d 597, 608 (2d Cir. 2017) (internal
quotation marks omitted).
       Before addressing Defendant's request for summary judgment on Plaintiff's
substantive claims, the court addresses his affirmative defenses of release and qualified
immunity, which, if established, would bar Plaintiff's claims.
       B.     Whether the June 2014 Release Bars Plaintiff's Claims.
       Defendant asserts that he is entitled to judgment in his favor pursuant to the June
2014 Release in the Massachusetts Action which he characterizes as a "general release."
He points out that, at the time Plaintiff signed the Release, he had passed the fitness for
duty examination and returned to his employment. Plaintiff thus knew of Defendant's
alleged actions and the potential harm they caused when he signed the Release. Plaintiff
counters the Release is a limited release that discharges only his claims "arising out of'
the June 2009 incident.

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       Under Massachusetts law, a release is a contract the interpretation of which is a
question of law. See Leblanc v. Friedman, 781 N.E.2d 1283, 1287 (Mass. 2003).
"Generally speaking, a written contract, clear in its terms and freely entered into, is
binding on both parties according to its terms." Crocker v. Townsend Oil Co., Inc.,
979 N.E.2d 1077, 1085 (Mass. 2012) (internal quotation marks omitted). "Contractual
language is ambiguous when it can support a reasonable difference of opinion as to the
meaning of the words employed and the obligations undertaken[.]" Balles v. Babcock
Power Inc., 70 N.E.3d 905, 911 (Mass. 2017) (internal quotation marks omitted). "When
contract language is unambiguous, it must be construed according to its plain meaning."
!d.
       "General releases dispose of all claims and demands arising out of any
transactions between the parties." Leblanc, 781 N.E.2d at 1287 (internal quotation marks
omitted). "[A] release may be prompted by the settlement of a specific dispute or
resolution of a specific issue, but broad wording in the release operates to settle all other,
unrelated matters, even if they were not specifically in the parties' minds at the time the
release was executed." Eck v. Godbout, 831 N.E.2d 296, 300-01 (Mass. 2005). "If
exceptions were intended to the scope of the releases, they should [be] stated."
Schuster v. Baskin, 236 N.E.2d 205, 208 (Mass. 1968). "The mere fact that the release
itself identifies the specific matter that prompted the parties to execute a release, does not,
by itself, operate to restrict the scope of a release that contains broad language releasing
all claims[.]" Eck, 831 N.E.3d at 301.
       The Release states that it releases "any and all claims" but also contains language
indicating that the parties intended the Release to discharge claims "arising out of the
[June 2009 incident]." In light of this limiting language, a reasonable interpretation of
the Release is that it discharges liability for "any and all claims" only to the extent that
they "aris[e] out of' the June 2009 incident. Because Plaintiffs claims in this action do
not "aris[e] out of' the June 2009 incident, but instead allegedly arise out of the Memo,
they would not be discharged by the Release according to this interpretation.


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       Defendant contends that Eck demands a different result. In that case, the Supreme
Judicial Court of Massachusetts held that a "broadly worded release" followed by the
language "and more specially for personal injuries sustained [as a result of alleged
negligence and breach of contract]" was a general release. I d. at 300. The court
observed that the identification of the claims related to the alleged negligence and breach
of contract was "introduced by the conjunctive 'and"' and therefore it "expressly states
that, in addition to the broadly described category of' all' claims being released" the
releasor was also releasing the releasee from the specific claims. I d. at 301 ("In effect,
the use of 'and more specially for' operates as the equivalent of 'including but not limited
to.'"). Here, in contrast, the Release does not include either the conjunctive or "and more
specially" language. In this respect, the Release more closely resembles the release at
issue in Leblanc:
       Massachusetts cases interpreting general releases have encountered
       documents breathtaking in their scope. In Naukeag Inn, Inc. v. Rideout,
       [220 N.E.2d 916 (Mass. 1968)], for example, one party released all claims
       which "I [sic ] may hereafter have from anything which has heretofore
       happened." In Atlas Tack Corp. v. Crosby, 41 Mass.App.Ct. 429, 431,
       671 N.E.2d 954 (1996), the plaintiff discharged the defendant "from all
       manner of actions, causes of action ... which [the plaintiff] ever had, now
       has or which it or its successors can, shall or may have for, upon or by
       reason of any matter, cause or thing whatsoever from the beginning of the
       world to the day of the date of these presents."
       While the release in this case contains some of the same language, referring
       repeatedly to "all claims" that the LeBlancs might have had, it also contains
       limiting language. Every paragraph of the document is qualified such that
       it relates back to a phrase in the first paragraph-that released the four
       parties "from all claims ... resulting from care and treatment rendered to
       Diane LeBlanc on or about March 16, 1992" (emphasis added). Paragraph
       two refers to any claims "on account of, or in anyway growing out of, said
       care and treatment or its results" (emphasis added). Paragraph three
       pertains to claims against other parties "who are or might otherwise be
       liable in anyway for the care and treatment rendered to the undersigned
       and which is the subject matter of this settlement" (emphasis added). Most
       importantly, paragraph four, which discharges the four parties from liability
       for claims for "unknown" injuries, does so for such claims which "may
       hereafter in anyway grow out of or be connected with said care and

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       treatment [or] its results" (emphasis added). In light ofthis limiting
       language, we interpret the release to discharge the liability of the four
       parties for "unknown" injuries only to the extent that such injuries in "any
       way grow out of' or are "connected with" the care and treatment that Mrs.
       Leblanc received on March 16, 1992, the only "care and treatment"
       referenced in the release.
781 N.E.2d at 1288 (footnote omitted); see also Airgas E., Inc. v. Med.-Tech. Gases, Inc.,
965 N.E.2d 224 (Mass. App. Ct. 2012) ("Releases of this type-employing language
specifically referring to only one occurrence or transaction-are limited to claims and
demands arising out of that specific occurrence or transaction.").
       Because the Release in this case more closely resembles the limited release in
Leblanc than the general release in Eck, Defendant has failed to establish as a matter of
law that the Release bars each of Plaintiffs claims. Defendant's motion for summary
judgment on the basis of the Release is therefore DENIED.
       C.     Whether Defendant Is Entitled to Summary Judgment on Qualified
              Immunity Grounds.
       Defendant asserts he is entitled to qualified immunity for Plaintiffs Vermont
common law tort claims, because no controlling precedent establishes that he violated
Vermont law by sending the Memo to VT DOC. Plaintiff argues there are disputed
issues of material fact regarding whether Defendant was performing a discretionary act
within the scope of his employment when he sent the Memo, and whether he sent the
Memo in good faith.
       "[T]he substantive law of Vermont governs the applicability of qualified immunity
to [Plaintiffs] state law claims[.]" Napolitano v. Flynn, 949 F.2d 617, 621 (2d Cir.
1991). Under Vermont law, "[q]ualified immunity attaches to public officials who are
( 1) acting during the course of their employment and acting, or reasonably believing they
are acting, within the scope of their authority; (2) acting in good faith; and (3) performing
discretionary, as opposed to ministerial, acts." Baptie v. Bruno, 2013 VT 117, ~ 11,
195 Vt. 308,314, 88 A.3d 1212, 1216 (internal quotation marks omitted). "The outcome
of the analysis depends on the objective reasonableness of the official's conduct in



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relation to settled, clearly-established law." Cook v. Nelson, 712 A.2d 382, 384 (Vt.
1998).
         A "discretionary duty" is "one requiring the exercise of judgment in its
performance," whereas a "ministerial duty" is "one where 'nothing is left to discretion-a
simple and definite duty, imposed by law, and arising under conditions admitted or
proved to exist."' Libercent v. Aldrich, 539 A.2d 981, 984 (Vt. 1987) (quoting State v.
Howard, 74 A. 392, 395 (Vt. 1909)).
         [W]hether the act of a government employee is discretionary so as to make
         the employee immune from personal tort liability requires a case-by-case
         examination of the nature of the act to determine whether the employee's
         action involved the type of policy considerations not suitable for review
         under the judicial system's traditional tort standards.
Hudson v. Town ofE. Montpelier, 638 A.2d 561, 565-66 (Vt. 1993). "This rule allows
the state officer or employee sufficient freedom to determine the best method of carrying
out his or her duties, while ensuring that those duties are fulfilled in a conscientious
manner." Libercent, 539 A.2d at 984.
         "Good faith exists where an official's acts did not violate clearly established rights
of which the official reasonably should have known." Murray v. White, 587 A.2d 975,
980 (Vt. 1991) (footnote omitted). "The good faith inquiry 'does not ask whether
plaintiffs rights were violated, but rather whether the official reasonably should have
known that what she was doing violated plaintiffs rights.'" Stevens v. Stearns, 2003 VT
74, ,-r 15, 175 Vt. 428, 434, 833 A.2d 835, 840 (quoting Murray, 587 A.2d at 980). "An
official's subjective intent is irrelevant." !d.
         In this case, the facts are in dispute regarding whether Defendant was performing a
discretionary duty in the course of his employment as a police officer when he sent the
Memo to VT DOC. Defendant concedes he was never directed or approved to send the
Memo, and Plaintiff contends its transmission was in violation of applicable regulations.
There is also a disputed issue of material fact regarding whether Defendant was acting in
good faith out of genuine concern for Plaintiffs safety and those in Plaintiffs care, or
whether he acted maliciously with the intent to adversely impact Plaintiffs employment.

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Defendant's credibility is essential to a determination of his motive. See Proctor,
846 F.3d at 608 (explaining that credibility determinations must be left to the jury).
       Although Defendant relies heavily on the absence of clearly established authority
that would have prohibited him from sending the Memo, the Second Circuit has held that
the prohibition on the provision of false evidence is "clearly established." See Garnett v.
Undercover Officer C0039, 838 F.3d 265, 276 (2d Cir. 2016) ("[F]abrication of evidence
violate[ s] a 'clearly established constitutional right[] [.]' ") (quoting Ricciuti v. N. Y C.
Transit Auth., 124 F.3d 123, 130 (2d Cir. 1997)).
       Because these are genuine issues of material fact that must be resolved to
determine whether Defendant was performing a discretionary task within the scope of his
employment when he sent the Memo, and whether he sent it in good faith, summary
judgment is inappropriate. See Sakoc v. Carlson, 656 F. App'x 573, 577-78 (2d Cir.
20 16) (holding that underlying facts need to be established before issue of qualified
immunity can be determined); see also Davis v. New York City Dep 't ofEduc., 804 F .3d
231, 234 n.2 (2d Cir. 20 15) ("Summary judgment may be granted only if there is no
genuine dispute as to any material fact and the movant is entitled to judgment as a matter
of law.") (internal quotation marks omitted). Defendant's motion for summary judgment
on the basis of qualified immunity is therefore DENIED.
       D.      Whether Defendant is Entitled to Summary Judgment on Plaintiff's
               Claim for Tortious Interference with Contract (Count 1).
       Defendant asserts that, as a matter of law, Plaintiff's tortious interference with
contract claim fails because Plaintiff cannot establish the essential elements of the tort.
Vermont law recognizes a claim for "liability against one who intentionally intrudes to
disrupt an existing contract relation." Mitchell v. Aldrich, 163 A.2d 833, 835-36 (Vt.
1960). "In order 'to be liable for interference with a contractual relationship, the
defendant must have intentionally and improperly induced or caused [a person] not to
perform under its contract with the plaintiff.'" Trepanier v. Getting Organized, Inc.,
583 A.2d 583, 589 (Vt. 1990) (alteration in original) (quoting Williams v. Chittenden Tr.
Co., 484 A.2d 911, 913 (Vt. 1984)). "The right protected is the right to be secure in one's

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business relations." Kollar v. Martin, 706 A.2d 945, 946 (Vt. 1997). "The act of
interference must be wrongful or improper by some measure beyond the fact of
interference itself." !d. (citation omitted).
        It is undisputed that Plaintiffs employment contract permitted VT DOC to require
him to undergo a fitness for duty examination. See Doc. 53 at 39, ~58 ("The State may
require an employee to be examined by a physician designated by the employer, at State
expense, for the purpose of determining the employee's fitness for duty."). The basis for
VT DOC's requirement that Plaintiff submit to an examination is disputed. Although
Defendant asserts it was due solely to the deposition transcript excerpts, Plaintiff has
proffered evidence that the Memo was also a factor.
       Regardless of the impetus for the fitness for duty examination, Defendant argues
that VT DOC did not fail to perform its contract with Plaintiff. Instead, it was Plaintiff
that requested a leave of absence. Although Defendant has the better part of this
argument, Plaintiff is correct that there is no evidence that he would have taken a leave of
absence or been required to submit to a fitness for duty examination in the absence of
Defendant's interference. He points out that failure to submit to a fitness for duty
examination would have led to "disciplinary action, up to and including dismissal."
(Doc. 43-23 at 2.) Whether the interruption of Plaintiffs employment in this manner
rises to the level of contractual interference must be determined by the finder of fact. See
Prince v. Entergy Nuclear Operations, Inc., 2011 WL 3363207 (D. Vt. 2011) (finding
tortious interference with a prospective business relationship plausibly alleged where
plaintiffs new employer delayed plaintiffs employment start date and forced him to
undergo an otherwise unnecessary psychological evaluation because of defendant's
provision of erroneous information regarding Plaintiffs security clearance). 2



2
  The Vermont Supreme Court has held that tortious interference with prospective contractual
relations "protects the same interest in stable economic relationships as does the tort of
interference with contract, but applies to business relationships not formally reduced to contract."
Gifford v. Sun Data, Inc., 686 A.2d 4 72, 4 74 (Vt. 1996). "The principal distinction between the
two is that a 'broader range of privilege to interfere is recognized when the relationship or
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         Viewing both the cause of the alleged interference and the gravity of the
interference in the light most favorable to Plaintiff, and drawing all reasonable inferences
in Plaintiffs favor, the court cannot determine as a matter of law that Defendant is
entitled to judgment in his favor with regard to Plaintiffs tortious interference with
contract claim. Summary judgment on Count I is therefore DENIED.
         E.     Whether Defendant Is Entitled to Summary Judgment on Plaintiff's
                Claim for Defamation (Count II).
         Defendant contends that he is entitled to summary judgment on Plaintiffs claim
for defamation because the undisputed material facts show that publication of the Memo
was privileged. He further contends that his statements were true and that he was not
negligent in publishing them.
         Under Vermont law, defamation consists of:
         (1) a false and defamatory statement concerning another; (2) some
         negligence, or greater fault, in publishing the statement; (3) publication to
         at least one third person; (4) lack of privilege in the publication; ( 5) special
         damages, unless actionable per se; and (6) some actual harm so as to
         warrant compensatory damages.
Stone v. Town ofIrasburg, 2014 VT 43,        ~   61, 196 Vt. 356,380-81,98 A.3d 769,785
(quoting Lent v. Huntoon, 470 A.2d 1162, 1168 (Vt. 1983)). "A defamatory statement is
one that tends to 'blacken the reputation of the plaintiff and expose [him] to public
hatred, contempt[,] or ridicule."' Davis v. Am. Legion, Dep 't of Vermont, 2014 VT 134,
~   22, 198 Vt. 204, 213, 114 A.3d 99, 106 (quoting Kinsley v. Herald & Globe Ass 'n,
34 A.2d 99, 101 (Vt. 1943)).
         Defendant argues that his Memo is protected by a conditional privilege because
Plaintiffs fitness to serve as a law enforcement agent is an important public interest
which Defendant properly addressed as a law enforcement officer. There is generally no
liability for publication of false and defamatory statements "if they are 'published upon
an occasion that makes [them] conditionally privileged' and 'the privilege is not
abused."' Skaskiw v. Vermont Agency ofAgric., 2014 VT 133, ~ 10, 198 Vt. 187, 193,

economic advantage interfered with is only prospective."' !d. (quoting Pac. Gas & Elec. Co. v.
Bear Stearns & Co., 791 P.2d 587, 590 (Cal. 1990)).
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112 A.3d 1277, 1283 (alteration in original) (quoting Restatement (Second) of Torts
§ 593 (1977)).
       An occasion makes a publication conditionally privileged if the
       circumstances induce a correct or reasonable belief that
               (a)    there is information that affects a sufficiently important
                      public interest, and
               (b)    the public interest requires the communication of the
                      defamatory matter to a public officer or a private citizen who
                      is authorized or privileged to take action if the defamatory
                      matter is true.
Restatement (Second) of Torts § 598. 3 This conditional privilege "is applicable to
defamatory communications to public officials concerning matters that affect the
discharge of their duties." !d. § 598 cmt. e. Such duties "include supervision of inferior
officers, [which] in many cases carries with it the power to remove or discipline the
inferiors for neglect of duty or malfeasance in office, or to report the misconduct to heads
of departments or other persons having the power of removal or discipline." !d.
       "Even though the publication is privileged, a particular person cannot avail
himself of the privilege if he abuses it." !d. § 598 cmt. a.
       The privilege is abused when the defendant knows the matter to be false or
       acts in reckless disregard as to its truth or falsity; communicates the matter
       for an improper purpose; knowingly communicates the matter to
       individuals not otherwise privileged; or does not reasonably believe that
       communicating the matter is necessary to accomplish the purpose for which
       the privilege is given.
Skaskiw, 2014 VT 133, ~ 10 (citations and internal quotation marks omitted).
Accordingly, the communication must have been made "in furtherance of the interests
sought to be protected by the conditional privilege and not 'solely from spite or ill will."'

3
 Vermont does not appear to have adopted the conditional privilege set forth in § 598, but it has
expressly adopted the conditional privilege in § 598A which "makes a publication conditionally
privileged if an inferior administrative officer of a state or any of its subdivisions who is not
entitled to an absolute privilege makes a defamatory communication required or permitted in the
performance of his official duties." Restatement (Second) of Torts § 598A; see also Skaskiw v.
Vermont Agency ofAgric., 2014 VT 133, ~ 11, 198 Vt. 187, 194, 112 A.3d 1277, 1284 ("Given
our previous reliance on the Restatement in this area of law, we adopt[§ 598A]."). If presented
with the question, it is therefore likely the Vermont Supreme Court would also adopt§ 598.
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!d. ,-r 10. The Vermont Supreme Court has "characterized the elements of the abuse of a
privilege as the presence of'malice."' !d. (quoting Crump v. P & C Food Mkts., Inc.,
576 A.2d 441, 448 (Vt. 1990)). A conditional privilege is "overcome by a showing of
one of two forms of malice: ( 1) conduct manifesting personal ill will, reckless or wanton
disregard of plaintiffs rights, or carried out under circumstances evidencing insult or
oppression or (2) knowledge of the statement's falsity or with reckless disregard of its
truth." !d. (internal quotation marks omitted).
       Plaintiffs fitness for duty as a correctional officer is an important public interest.
However, unlike the police officer supervisor in Turner v. Fletcher, 706 N.E.2d 514 (Ill.
App. Ct. 1999), Defendant had no supervisory responsibility over Plaintiff, no obligation
to report his concerns to Plaintiffs employer, and no potential liability if he failed to
report them. Defendant's motive in sending the Memo is therefore paramount and his
credibility must be evaluated in making that determination. See Skaskiw, 2014 VT 133,
,-r 10 (explaining that the conditional privilege does not apply if the communication
results "solely from spite or ill will") (internal quotation marks omitted). Because there
are genuine issues of material fact regarding whether Defendant acted with malice in
sending the Memo, summary judgment on the basis of a conditional privilege cannot be
granted. See Prop. & Cas. Ins. Co. ofHartfordv. Davenport, 907 F. Supp. 2d 561, 567
(D. Vt. 20 12) ("Whether a person is capable of acting with a particular mental state is
typically a question of fact for the jury.").
       A similar result is warranted for Defendant's contention that his statements were
true. Although truth is a "complete defense to defamation[,]" Lent, 470 A.2d at 1169,
"for the defense of truth to apply, it is now generally agreed that it is not necessary to
prove the literal truth of the accusation in every detail, and that it is sufficient to show
that the imputation is substantially true." Russin v. Wesson, 2008 VT 22, ,-r 8, 183 Vt.
301, 304, 949 A.2d 1019, 1021 (alterations and internal quotation marks omitted). "Put
another way, it is sufficient if the substance, the gist, the sting, of the matter is true." !d.
(internal quotation marks omitted). "The inquiry is whether the alleged defamatory
statement produces a different effect upon the reader than that which would be produced

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by the literal truth of the matter." !d. (alterations and internal quotation marks omitted).
A "common-sense 'substantial truth' standard" thus applies "in a private-party case like
this, for the important free-speech interests at stake." !d. at ,-r 7.
       In this case, there is a close question as to whether Defendant's statement in the
Memo that Plaintiff "made suicidal and homicidal threats toward me" is true. (Doc. 43-
11 at 2.) On the one hand, no threats of any kind were made directly to Defendant. On
the other hand, Plaintiff repeatedly stated that he wanted to kill people and there is a
reasonable inference that this included Defendant as the alleged perpetrator of the June
2009 incident. A jury, weighing the evidence as well as credibility, may conclude that
the "sting" of the Memo is true.
       The parties further dispute whether it was the Memo or the deposition transcripts
that produced the adverse effect on VT DOC as the recipient. Defendant asserts that he
has proffered direct evidence that the Memo did not produce a substantially different
effect on VT DOC and VT DHR than evidence derived from the deposition transcript
excerpts. Plaintiff counters that regardless of whether the effect of the deposition
transcripts upon VT DOC and VT DHR was different than the effect of the Memo, there
is no evidence that VT DOC or VT DHR would have received any documents related to
the Massachusetts action had Defendant not interfered in Plaintiffs employment.
Plaintiff further points to the testimony of Ms. Royce that both the Memo and the
deposition excerpts were causal factors in VT DOC's request for a fitness for duty
examination.
       Finally, even if the statements in his Memo were inaccurate, Defendant contends
that because he did not attend Plaintiffs depositions, there is no evidence that he could or
should have known of any inaccuracies prior to sending his Memo to VT DOC. He
therefore asserts that Plaintiff will be unable to establish that he was negligent or had a
greater level of fault in the Memo's publication.
       Defendant's lack of negligence or greater fault in this case depends on his state of
mind in sending the Memo. He was either innocently mistaken as to the information
provided by his attorney (who denies advising him of direct threats), or he deliberately

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recast what she told him in more inflammatory terms so as to impact Plaintiffs
employment. In such circumstances, "the determination of whether [Defendant] was ·
negligent in [his] publication of the statement must also be left to the jury." Marcoux-
Norton v. Kmart Corp., 907 F. Supp. 766, 779 (D. Vt. 1993)). Summary judgment in
Defendant's favor on Count II is therefore DENIED.
       F.     Whether Defendant Is Entitled to Summary Judgment on Plaintiff's
              Claim for Intentional Infliction of Emotional Distress (Count III).
       "Vermont recognizes the tort of intentional infliction of emotional distress."
Crump, 576 A.2d at 448. A plaintiffs "burden of proof on a claim of intentional
infliction of emotional distress is a heavy one." Gallipo v. City of Rutland, 656 A.2d 635,
643 (Vt. 1994 ). The plaintiff "must demonstrate that defendants' conduct was so
outrageous as to surpass all possible bounds of decency, and be regarded as atrocious,
and utterly intolerable in a civilized community." !d. (alteration and internal quotation
marks omitted). "Established law[] ... posits an objective test for outrageousness: a
plaintiff must demonstrate legal harm resulting from inflicted distress so severe that no
reasonable person could be expected to endure it." Baldwin v. Upper Valley Servs., Inc.,
644 A.2d 316, 319 (Vt. 1994). Liability may not be predicated on "mere insults,
indignities, threats, annoyances, petty oppressions, or other trivialities." Denton v.
Chittenden Bank, 655 A.2d 703, 706 (Vt. 1994) (internal quotation marks omitted).
However, "[ o]therwise unactionable conduct may become extreme and outrageous in
character if an actor knows 'that the other is peculiarly susceptible to emotional distress
by reason of some physical or mental condition or peculiarity,' and the actor proceeds in
the face of that knowledge." !d. at 707 (alteration omitted) (quoting Restatement
(Second) of Torts § 46 cmt. t).
       When Defendant sent his Memo to VT DOC, he was arguably aware "that
[Plaintiff] is peculiarly susceptible to emotional distress[.]" !d. If Plaintiff establishes
that Defendant did not act in good faith in sending the Memo, but rather sent it in an
effort to adversely impact Plaintiffs employment, a jury may find his conduct
sufficiently outrageous to find Defendant liable for intentional infliction of emotional

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distress. See Crump, 576 A.2d at 448 (recognizing that "abuse of a position of authority
vis-a-vis plaintiff' may "provide grounds for the tort action"). Based on the disputed
facts of record, the court cannot decide the claim as a matter oflaw. Defendant's motion
for summary judgment on Plaintiffs intentional infliction of emotional distress claim is
therefore DENIED.
                                     CONCLUSION
       For the foregoing reasons, Defendant's motion for summary judgment (Doc. 41) is
DENIED.
SO ORDERED.
                                                                s
                                                                    r
       Dated at Burlington, in the District of Vermont, this _Z}_ day of August, 2017.


                                           ~··
                                          Christina Reiss, Chief Judge
                                          United States District Court




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